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 AKIN GUMP STRAUSS HAUER &                                  WILMER CUTLER PICKERING HALE
 FELD LLP                                                   AND DORR LLP
 One Bryant Park                                            7 World Trade Center
 New York, New York 10036                                   250 Greenwich Street
 (212) 872-1000 (Telephone)                                 New York, New York 10007
 (212) 872-1002 (Facsimile)                                 (212) 230-8800 (Telephone)
 David M. Zensky                                            (212) 230-8888 (Facsimile)
 Erik Preis                                                 Andrew Goldman
 Deborah J. Newman                                          Charles C. Platt
                                                            Benjamin Loveland (admitted pro hac vice)
 Counsel to the Second Lien Lender Defendants               Lauren Lifland

 PILLSBURY WINTHROP                                         Counsel for Wilmington Trust, National
 SHAW PITTMAN LLP                                           Association, in its capacity as Indenture
 1540 Broadway                                              Trustee under the Second Lien Indenture
 New York, New York 10036                                   and Collateral Trustee under the Security
 (212) 858-1000 (Telephone)                                 Agreement
 Leo T. Crowley
 Daniel S. Brown

 Counsel to Wilmington Savings Fund Society,
 FSB, in its capacity as successor
 Administrative Agent under the Second Lien
 Credit Agreement

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------   x
 In re:                                                                :
                                                                       :   Chapter 11
 SUNEDISON, INC., et al.,                                              :   Case No. 16-10992 (SMB)
                                                                       :   (Jointly Administered)
                                     Debtors.                          :
                                                                       :
 -------------------------------------------------------------------   x
                                                                       :
 OFFICIAL COMMITTEE OF UNSECURED                                       :   Adversary Proceeding
 CREDITORS, on behalf of the estates of the Debtors,                   :   No. 16-01228 (SMB)
                                                                       :
                                     Plaintiff,                        :
                            v.                                         :
                                                                       :
 WELLS FARGO BANK, N.A., et al.,                                       :
                                                                       :
                                     Defendants.                       :
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               JOINT SUPPLEMENTAL MEMORANDUM OF LAW OF
                       THE SECOND LIEN DEFENDANTS
                  IN SUPPORT OF THEIR MOTION TO DISMISS
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         The Second Lien Defendants,1 by and through their undersigned attorneys, hereby file

 this supplemental joint memorandum of law in response to the Court’s request for supplemental

 briefing on the extent to which the Committee’s pleadings must specifically identify the

 wrongdoers, transferees, and/or alleged insiders in connection with the Committee’s intentional

 fraudulent transfer, preference, equitable subordination, and aiding and abetting claims (Counts

 4, 5, 10, 11, and 15), and in further support of the Second Lien Defendants’ Motion to Dismiss

 the Committee’s Complaint.

                                                 ARGUMENT

 I.      The Committee’s Preference, Equitable Subordination, and Aiding and Abetting
         Claims Impermissibly Rely on Group Pleading (Counts 10, 11 and 15)

         1.       The Committee’s preference, equitable subordination, and aiding and abetting

 claims should be dismissed because they impermissibly rely on group pleading. To the extent

 that these claims are based on allegedly fraudulent conduct, they must satisfy the particularity

 requirements of Rule 7009 of the Federal Rules of Bankruptcy Procedure (“Rule 9”). See, e.g.,

 O’Connell v. Arthur Andersen LLP (In re AlphaStar Ins. Grp. Ltd.), 383 B.R. 231, 257 (Bankr.

 S.D.N.Y. 2008) (Bernstein, J.) (“Even where fraud is not an element of the claim, the allegations

 must satisfy Fed. R. Civ. P. 9(b) if the claim is based on fraudulent conduct.”). Under Rule 9,

 “group pleading is generally forbidden because each defendant is entitled to know what he is

 accused of doing.” Id.2


         1
             The Second Lien Lender Defendants are identified in the Notices of Appearance and Requests for Service
 of All Pleadings and Documents [AP Docs. 23 & 63]. Capitalized terms not defined herein have the meanings
 ascribed to them in the Joint Memorandum of Law of the Second Lien Defendants in Support of Their Motion to
 Dismiss [AP Doc. 25] (the “2L Mov. Br.”) and the Joint Reply of the Second Lien Defendants in Further Support of
 Their Motion to Dismiss [AP Doc. 46] (the “Second Lien Reply Brief” or “2L Reply Br.”).
           2
             See also Footbridge Ltd. v. Countrywide Home Loans, Inc., No. 09 CIV.4050 (PKC), 2010 WL 3790810,
 at *23 (S.D.N.Y. Sept. 28, 2010) (declining to permit group pleading with respect to securities fraud claims);
 AlphaStar, 383 B.R. at 257–58 (noting that Rule 9(b) generally forbids group pleading for allegations based on or
 involving fraud); In re LightSquared Inc., 504 B.R. 321, 356 (Bankr. S.D.N.Y. 2013) (dismissing fraud and related
 tort claims under Rule 9(b) where complaint failed to “set forth any specific allegations with respect to” any
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         2.       Additionally, courts have held that equitable subordination claims against non-

 insiders must be “based on the claimant’s own acts,” and pled with particularity even if they are

 not based on fraudulent conduct. Official Comm. of Unsecured Creditors v. Credit Suisse (In re

 Champion Enters., Inc.), No. 10-50514, 2010 WL 3522132, at *8, *10 (Bankr. D. Del. Sept. 1,

 2010) (“Particularized fact pleading regarding the allegedly egregious behavior is required.”);

 see also In re Fedders N. Am., Inc., 405 B.R. 527, 554 (Bankr. D. Del. 2009) (“[T]he party

 seeking to apply equitable subordination bears a higher burden of proof in which he or she must

 show that the respondent engaged in egregious conduct such as fraud, spoliation or overreaching.

 Moreover, these facts must be pled with particularity.”) (internal citations omitted).

         3.       Even if the Committee’s preference, equitable subordination, and aiding and

 abetting claims are subject only to the strictures of Rule 7008 of the Federal Rules of Bankruptcy

 Procedure (“Rule 8”), the claims still may not rely on group pleading. Rule 8 requires a plaintiff

 to provide each defendant with “fair notice” of its allegations and the basis therefor. Morrison v.

 Hoffmann-La Roche, Inc., No. 14-cv-4476 (DLI) (RML), 2016 WL 5678546, at *4 (E.D.N.Y.

 Sept. 29, 2016). A complaint fails to provide such notice where, as here, it “‘lump[s] all the

 defendants together and fail[s] to distinguish their conduct…’” Appalachian Enters., Inc. v.

 ePayment Sols., Ltd., No. 01 CV 11502 (GBD), 2004 WL 2813121, at *7 (S.D.N.Y. Dec. 8,

 2004); see also United States v. Bonanno Organized Crime Family of La Cosa Nostra, 683 F.

 Supp. 1411, 1429 (E.D.N.Y. 1988), aff’d, 879 F.2d 20 (2d Cir. 1989) (“The Amended

 Complaint’s aiding and abetting allegation also runs counter to Rule 8’s requirement that

 ‘actions brought against multiple defendants must clearly specify the claims with which each


 defendant); Granite Partners, L.P. v. Bear, Stearns & Co. Inc., 17 F. Supp. 2d 275, 286 (S.D.N.Y. 1998) (“[A]
 claim may not rely upon blanket references to acts or omissions by all the defendants, for each defendant named is
 entitled to be apprised of the circumstances surrounding the fraudulent conduct with which he is individually
 charged.”).


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 particular defendant is charged.’”) (internal citation omitted); Am. Sales Co. v. AstraZeneca AB,

 No. 10 CIV. 6062 (PKC), 2011 WL 1465786, at *5 (S.D.N.Y. Apr. 14, 2011) (“Rule 8(a)

 requires that a complaint against multiple defendants indicate clearly the defendants against

 which relief is sought and the basis upon which relief is sought against the particular

 defendants.”); Clayton’s Auto Glass, Inc. v. First Data Corp., No. 12-CV-5018 JS AKT, 2013

 WL 5460872, at *5 (E.D.N.Y. Sept. 30, 2013) (“Such ‘group pleading’ . . . fails to satisfy either

 the notice pleading requirements of Rule 8 or the heightened pleading standard under Rule 9(b)

 … .”); Holmes v. Allstate Corp., No. 11 CIV. 1543 (LTS) (DF), 2012 WL 627238, at *22

 (S.D.N.Y. Jan. 27, 2012), report and recommendation adopted, 2012 WL 626262 (S.D.N.Y. Feb.

 27, 2012) (“Rule 8(a) is violated where a plaintiff, by engaging in ‘group pleading,’ fails to give

 each defendant fair notice of the claims against it.”).

         4.       The Committee’s allegations that the Second Lien Lenders were insiders of the

 Debtors, that they engaged in conduct giving rise to a claim for equitable subordination, and that

 they aided and abetted an alleged breach of fiduciary duty, plainly fail to satisfy the “fair notice”

 requirement of Rule 8, the particularity required by Rule 9, and the case law addressing claims

 for equitable subordination. The Committee does not even attempt to differentiate among

 Defendants with respect to these allegations, or to explain which Defendants allegedly engaged

 in the alleged conduct that purportedly (i) rendered them insiders, (ii) justifies the remedy of

 equitable subordination; or (iii) gives rise to an aiding and abetting breach of fiduciary duty

 claim. To the contrary, the Committee’s allegations in support of these claims refer only to

 “SUNE’s secured creditors,” “Defendants,” “at least some of the Defendants,” or “the

 Prepetition First Lien Lenders and Prepetition Second Lien Lenders.”3 Such “lump[ing] . . .


         3
            Compl. ¶ 156 (“[s]hortly after closing the January 2016 Transactions, and as a result of the control and
 influence they achieved over SUNE through those Transactions, SUNE’s secured creditors began to understand the


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 together” of defendants is exactly the type of group pleading that is prohibited by Rules 8 and 9.

 See, e.g., Appalachian Enters., 2004 WL 2813121, at *7.4

          5.       Indeed, the Committee does not appear to dispute that it has relied on group

 pleading, notwithstanding its belief that certain of the Second Lien Defendants likely did not

 engage in the alleged conduct. To the contrary, despite having had the benefit of and opportunity

 for further pre-filing discovery, Committee counsel posited at the hearing before this Court on

 February 16 (the “February 16 Hearing”) that the Committee does not have to “name who was an

 insider as of what date for what actions,” and admitted that the Committee (i) “do[es]n’t know”

 whether its allegations respecting the lenders’ conduct are accurate, (ii) would need to take more

 discovery to determine which of the lender defendants (if any) actually engaged in the conduct

 the Committee is accusing them of; and (iii) believes that certain of the lender Defendants may

 not be original lenders or participants in the DIP financing, and thus could not have engaged in

 such alleged conduct. Transcript of the February 16 Hearing (“Hr’g Tr.”) 132:12–15 (M. Kim);

 Hr’g Tr. 137:6–11 (M. Kim) (“the complaint alleges [the first and Second Lien Lenders] acted

 really as a group with the debtor to effectuate a series of transactions. Now, again, laying aside


 true state of SUNE’s liquidity crisis”), ¶ 162 (“Defendants . . . dictated the appointment of a chief restructuring
 officer, were involved in deciding which entities would file for bankruptcy protection, and expressly acknowledged
 potential preference liability . . .”); ¶ 163 (“at least some Defendants knew that certain aspects of the January 2016
 Transactions, including the Debt Exchange, constituted avoidable preferential transfers . . . upon information and
 belief, SUNE’s secured creditors influenced SUNE to delay filing for bankruptcy . . .”); ¶ 164 (“the deal fell apart
 because the Prepetition First Lien Lenders and Prepetition Second Lien Lenders did not support it . . .”); ¶ 165
 (“[t]he Prepetition First Lien Lenders and Prepetition Second Lien Lenders claimed they had structural priority over
 proceeds from subsidiary assets and then used their superior position in the value chain to justify getting liens over
 previously unencumbered assets.”); ¶ 166 (“Altogether this control was so total that Defendants were functionally
 insiders.”).
           4
             The only allegations that are tied to a specific Second Lien Lender Defendant are citations to (i) an
 internal email written by employees of a single Second Lien Lender Defendant (out of more than six dozen Second
 Lien Lender Defendants), and (ii) another email written by the chief executive officer of that Second Lien Lender
 Defendant. Compl. ¶¶ 134, 156. As set forth in the Second Lien Defendant Reply Brief, however, these emails do
 not show that this Second Lien Lender Defendant was an insider of the Debtors at any time, that it engaged in
 inequitable conduct, or that it aided and abetted any breach of fiduciary duty by the Debtors’ Boards of Directors. 2L
 Reply Br. ¶ 45. Nor does the Complaint allege any basis on which to impute the statements or alleged actions of this
 Second Lien Lender Defendant to any of the other Second Lien Lender Defendants.


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 whether they say it’s inaccurate, we basically have unsworn briefings from counsel saying that

 never happened. Okay? They may be correct. We don’t know.) (emphasis added); Hr’g Tr.

 143:12–13 (B. Sauter) (“We don’t know the parties who were involved, at the end of the day, in

 the DIP financing.”); Hr’g Tr. 144:8–11(B. Sauter) (“So some of the people who are being added

 could be people who bought debt on the secondary market and now have a claim in bankruptcy,

 even if they weren’t necessarily involved in the initial transaction.”).

        6.      Committee counsel’s admissions demonstrate that the Committee has not only

 violated Rules 8 and 9, but also Rule 9011 of the Federal Rules of Bankruptcy Procedure (“Rule

 11”). Rule 11 provides that by submitting a pleading to a court, “an attorney . . . certif[ies] that to

 the best of the person’s knowledge, information, and belief, formed after an inquiry reasonable

 under the circumstances . . . [the] factual contentions have evidentiary support or, if specifically

 so identified, will likely have evidentiary support after a reasonable opportunity for further

 investigation or discovery …” Fed. R. Bankr. P. 9011. As the Advisory Committee Notes to

 Federal Rule of Civil Procedure 11, which is substantially similar to Rule 11, state, although a

 plaintiff may make factual contentions in initial pleadings on information and belief, litigants are

 not relieved “from the obligation to conduct an appropriate investigation into the facts that is

 reasonable under the circumstances; [and] it is not a license to . . . make claims . . . without any

 factual basis or justification.” Fed. R. Civ. P. 11(b)(3) advisory committee’s notes to 1993

 amendment; see also Abner Realty, Inc. v. Admin. of Gen. Servs. Admin., No. 97 Civ.

 3075(RWS), 1998 WL 410958, at *4 (S.D.N.Y. July 22, 1998) (“Rule 11 requires that an

 attorney make a prefiling inquiry to establish reasonable ground to believe that further

 investigation and discovery will prove his case . . . where an attorney can get the information




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 necessary to certify the validity of a claim in a public fashion and need not rely solely on his

 client, he must do so.”) (internal citations omitted).

        7.      Thus, “[t]he day is past when . . . notice pleading practice … [and] liberal

 discovery rules invited the federal practitioner to file suit first and find out later whether he had a

 case or not.” Hale v. Harney, 786 F.2d 688, 692 (5th Cir. 1986). By its own admission, this is

 exactly what the Committee has done here. See Hr’g Tr. 137:6–11 (M. Kim); Hr’g Tr. 143:12–13

 (B. Sauter); Hr’g Tr. 144:8–11(B. Sauter). And the Committee’s “shoot first” approach is

 particularly egregious, given that the Committee had the benefit of discovery from multiple

 parties, including the Debtors, prior to filing the Complaint, and could have availed itself of

 additional discovery. See Compl. ¶ 168.

 II.    The Committee’s Intentional Fraudulent Transfer Claim Fails to Satisfy Rules 8
        and 9 (Counts 4 and 5)

        8.      The Committee’s intentional fraudulent transfer claims should also be dismissed

 because they fail to satisfy Rules 8 and 9. With respect to intentional fraudulent conveyance

 claims, Rule 9 requires a plaintiff to allege with particularity (1) “the circumstances constituting

 [the] fraud,” and (2) “facts that give rise to a strong inference of fraudulent intent.” Fed. R. Civ.

 P. 9(b); Buchwald Capital Advisors LLC v. JP Morgan Chase Bank, N.A. (In re M. Fabrikant &

 Sons, Inc.), 480 B.R. 480, 485 (S.D.N.Y. 2012) (“M. Fabrikant II”). Additionally, a plaintiff

 must “specify the property that was allegedly conveyed, the timing and frequency of those

 allegedly fraudulent conveyances, [and] the consideration paid.” Id. at 490.

        9.      As set forth in the Second Lien Defendants’ prior briefing, the Committee has

 failed to satisfy this standard. 2L Mov. Br. ¶¶ 45, 48–53; 2L Reply Br. ¶¶ 22–26. As the Court

 pointed out at the February 16 Hearing, the Committee appears to be attempting to invoke

 (although does not actually assert) a “collapsing” theory, which would allege that the Second



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 Lien Lender Defendants loaned the Debtors the proceeds of the January Financing with the

 knowledge that those proceeds would then be immediately transferred out of the corporate

 enterprise for less than reasonably equivalent value, leaving the Debtors with the additional debt

 and liens, but no (or little) additional value. See, e.g., Hr’g Tr. 111:3–12, 121:23–122:7, 127:8–

 10 (J. Bernstein). To the extent that the Committee is attempting to belatedly assert such a

 theory, however, it has failed in its efforts.5

          10.      As this Court has noted, in certain circumstances, “multiple transactions will be

 collapsed and treated as steps in a single transaction for analysis under the fraudulent conveyance

 laws.” Buchwald Capital Advisors LLC v. JP Morgan Chase Bank, N.A. (In re M. Fabrikant &

 Sons, Inc.), 447 B.R. 170, 186 (Bankr. S.D.N.Y. 2011) (Bernstein, J.) (“M. Fabrikant I”). A

 plaintiff seeking to collapse transactions in this manner must show that (i) the consideration

 received by the debtor in exchange for the transfer or obligation was “reconveyed by the debtor

 for less than fair consideration or with actual intent to defraud creditors,” and (ii) the initial

 transferee or obligee (here, the Second Lien Lenders) had “actual or constructive knowledge of

 the entire scheme that renders the exchange with the debtor fraudulent.” Id. at 186–87. Further,

 the plaintiff must satisfy the particularity requirement of Rule 9 with respect to each alleged

 transfer. Id. at 186.

          11.      Here, not only does the Complaint fail to allege with particularity that any of the

 proceeds of the January Financing were reconveyed by the Debtors for less than reasonably

 equivalent value as part of an integrated transaction including the January Financing, it fails to

 make that allegation in any way at all. See M. Fabrikant II, 480 B.R. at 488 (affirming this

 Court’s dismissal of complaint because, inter alia, the complaint did not “plausibly establish that


          5
           Committee counsel appeared to indicate at the February 16 Hearing that it is in fact attempting to assert
 such a theory with respect to the Second Lien Lender Defendants. H’rg Tr. 121:15–22; 123:15–20 (M. Kim).


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 loans . . . were reconveyed . . . as part of a single transaction.”) (emphasis in original). To the

 contrary, the Complaint acknowledges that $174 million of the proceeds of the January

 Financing were used to pay existing indebtedness on which the Debtors (including the

 Subsidiary Guarantors)6 were obligated, and says nothing at all about the way in which the

 Debtors used the remaining proceeds. The Committee’s assertion that the Court may infer that

 the remaining proceeds “may well have been diverted to other improper ends,” Comm. Br. at 16–

 17, 24, is directly contrary to applicable law, and is undermined by the Committee’s

 acknowledgment that the Debtors received reasonably equivalent value in exchange for at least

 $174 million of the proceeds. See, e.g., M. Fabrikant II, 480 B.R. at 488 (“By acknowledging

 that at least some of the transfers . . . were in fact for reasonably equivalent value, the

 [Complaint] essentially undercuts the notion that the transactions at issue constituted a unified

 scheme to defraud Debtors’ creditors.”).

         12.      Additionally, as this Court has held, in order to state a fraudulent conveyance

 claim based on collapsing, a plaintiff must allege that each defendant had actual or constructive

 knowledge “of the entire scheme that renders the exchange with the debtor fraudulent,” and the

 Court must “examine the knowledge of each participant separately.” M. Fabrikant I, 447 B.R at

 187. The Complaint fails to offer any (let alone any particularized) facts that any Second Lien

 Lender Defendant had actual or constructive knowledge (i) that the proceeds of the January

 Financing would be impermissibly reconveyed (which is not surprising, since no such improper

 reconveyance is alleged), or (ii) that the Debtors were insolvent at the time of the January
         6
            Part of the proceeds of the January Financing ($169 million) were used to pay off an existing second lien
 term loan (the “Refinanced Second Lien Term Loan”). Compl. ¶ 138. The Refinanced Second Lien Term Loan was
 guaranteed by all of the Subsidiary Guarantors, with the exception of SUNE ML 1, LLC. See Guaranty Agreement
 dated as of August 11, 2015 (the relevant pages of which are attached as Exhibit G to the Declaration of Deborah J.
 Newman in Support of the Second Lien Defendants’ Motion to Dismiss [AP Doc. 26] (the “Newman Declaration”)).
 Additionally, $5 million of the proceeds from the Second Lien Term Loan were used to refinance a margin loan on
 which SUNE ML 1, LLC was the obligor. Compl. ¶ 138; Second Lien Credit Agreement, Recitals ¶ 2 (the relevant
 pages of the Second Lien Credit Agreement are attached as Exhibit D to the Newman Declaration).


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 Financing. Nor does the Complaint support the Committee’s conclusory assertions, in its

 Opposition Brief and at oral argument, that the Second Lien Lenders were in a “close

 relationship” with the Debtors, or that the January Financing affected a “quid pro quo” in which

 the Second Lien Lenders knowingly enabled the Debtors to hide their alleged accounting fraud.

 Comm. Br. at 2, 8, 10–11; Hr’g Tr. at 114:11 (M. Kim).

        13.     Quite the opposite, the Complaint alleges that at the time of the January

 Financing, “as a result of Management’s gross financial improprieties,” the Second Lien Lender

 Defendants believed that SUNE “still had significant value,” and “would quickly rebound from

 its liquidity crunch…” Compl. ¶ 133. Additionally, while the Committee repeatedly cites an

 internal email exchange between employees of a single Second Lien Lender Defendant (out of

 more than six dozen), in which one of the employees speculates that SUNE was willing to agree

 to the terms of the January Financing so that it could avoid raising money on the public markets

 where it would need to be more transparent, the Complaint does not allege—with particularity or

 otherwise—that this, or any other Second Lien Lender Defendant, believed the Debtors were

 misrepresenting their financial condition, or intended to reconvey the proceeds of the January

 Financing in a manner that would not benefit the Debtors. Compl. ¶ 134.

        14.     Nor would such an allegation be plausible. As this Court has recognized, any

 allegation that the Second Lien Lender Defendants loaned the Debtors $725 million with

 knowledge that the Debtors would be insolvent following that cash infusion, or would not benefit

 from the newly infused funds, would be “counterintuitive.” Tr. of Jan. 10, 2017 Conf. regarding

 scheduling and discovery dispute at 10–11 [AP Doc. 48]; see also M. Fabrikant II, 480 B.R. at

 489 (rejecting the allegation that defendant banks took the “risk of continuing their lending




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 relationships with” the debtors with knowledge that the funds lent would not benefit the debtors

 as “nonsensical,” and “highly implausible, bordering on the absurd”).

                                         CONCLUSION

          For the reasons stated herein and in the Second Lien Defendants’ Moving and Reply

 Briefs, the Second Lien Defendants respectfully request that the Court enter an order dismissing

 Counts 4, 5, 7, 8, 10–13 and 15 of the Complaint, with prejudice.



 Dated:          New York, New York
                 March 2, 2017
                                              AKIN GUMP STRAUSS HAUER & FELD LLP

                                              By:     /s/ David M. Zensky
                                                     David M. Zensky
                                                     Erik Preis
                                                     Deborah J. Newman
                                                     Akin Gump Strauss Hauer & Feld LLP
                                                     One Bryant Park
                                                     New York, New York 10036
                                                     (212) 872-1000 (Telephone)
                                                     (212) 872-1002 (Facsimile)
                                                     apreis@akingump.com
                                                     dzensky@akingump.com
                                                     djnewman@akingump.com

                                               Counsel to the Second Lien Lender Defendants


                                              WILMER CUTLER PICKERING
                                              HALE AND DORR LLP

                                              By:     /s/ Andrew Goldman
                                                     Andrew Goldman
                                                     Charles C. Platt
                                                     Benjamin Loveland (admitted pro hac vice)
                                                     Lauren Lifland
                                                     7 World Trade Center
                                                     250 Greenwich Street
                                                     New York, New York 10007
                                                     (212) 230-8800 (Telephone)


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                                             (212) 230-8888 (Facsimile)
                                             andrew.goldman@wilmerhale.com
                                             charles.platt@wilmerhale.com

                                       Counsel for Wilmington Trust, National
                                       Association, in its capacity as Indenture Trustee
                                       under the Second Lien Indenture and Collateral
                                       Trustee under the Security Agreement


                                      PILLSBURY WINTHROP
                                      SHAW PITTMAN LLP

                                      By:     /s/ Leo T. Crowley
                                             Leo T. Crowley
                                             Daniel S. Brown
                                             1540 Broadway
                                             New York, New York 10036
                                             (212) 858-1000 (Telephone)
                                             (212) 858-1500 (Facsimile)
                                             leo.crowley@pillsburylaw.com

                                       Counsel to Wilmington Savings Fund Society,
                                       FSB, in its capacity as successor Administrative
                                       Agent under the Second Lien Credit Agreement




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